                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                  1:17 cr 80


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
PHILLIP SAMPSON ARMACHAIN, SR.,               )
                                              )
                  Defendant.                  )
____________________________________          )


        THIS MATTER came before the undersigned on September 20, 2017

pursuant to a Motion to Compel Discovery (#28) filed by counsel for Defendant.

At the call of this matter on for hearing, it appeared that Defendant was present with

his counsel, Anthony Scheer and the Government was present through AUSA Dan

Bradley. Mr. Scheer and Mr. Bradley advised the Court the remaining discovery

that had not been produced to the Defendant were recorded telephone calls between

Defendant and certain persons who had been detained either in the detention facility

of the Cherokee Indian Police or the Swain County Jail. It was described to the

undersigned there were approximately 21 persons who had had telephone

conversations with the Defendant and the Defendant needed to be able to present a

defense in this matter.

        Counsel for the parties further advised the Court that there was also some

other statements of witnesses that the Government had not yet provided. The trial

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of this matter is scheduled for October 2, 2017. The parties advised they had filed

a Motion to Continue the trial of this matter and were hopeful that United States

District Judge Max O. Cogburn, Jr., the presiding judge, would grant their Motion

to Continue.   The undersigned advised counsel for the parties he would consult

with Judge Coguburn and if it was Judge Cogburn’s intent to grant the motion, this

Court would not enter a ruling on the Motion to Compel and would reset the matter

for further hearing at a time in October 2017.

      The undersigned did consult with Judge Cogburn and determined from that

conversation, to continue the hearing of the Defendant’s Motion to Compel.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the hearing of Defendant’s Motion

to Compel (#28) is continued until October 17, 2017 at 10:00 a.m. in courtroom #2

of the United States Courthouse in Asheville, NC.


                                    Signed: September 21, 2017




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